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                    EXHIBIT C
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MARTIN LIPTON              MARK GORDON                   51 WEST         52ND        STREET                ELAINE P. GOLIN      STEVEN WINTER
HERBERT M. WACHTELL        JEANNEMARIE O’BRIEN                                                             EMIL A. KLEINHAUS    EMILY D. JOHNSON
EDWARD D. HERLIHY          WAYNE M. CARLIN           NEW YORK, N.Y. 10019-6150                             KARESSA L. CAIN      JACOB A. KLING
DANIEL A. NEFF             STEPHEN R. DiPRIMA                                                              RONALD C. CHEN       RAAJ S. NARAYAN
STEVEN A. ROSENBLUM        NICHOLAS G. DEMMO           TELEPHONE: (212) 403-1000                           BRADLEY R. WILSON    VIKTOR SAPEZHNIKOV
JOHN F. SAVARESE           IGOR KIRMAN                                                                     GRAHAM W. MELI       MICHAEL J. SCHOBEL
SCOTT K. CHARLES           JONATHAN M. MOSES           FACSIMILE:          (212) 403-2000                  GREGORY E. PESSIN    ELINA TETELBAUM
JODI J. SCHWARTZ           T. EIKO STANGE                                                                  CARRIE M. REILLY     ERICA E. AHO
ADAM O. EMMERICH           WILLIAM SAVITT                        GEORGE A. KATZ (1965–1989)                MARK F. VEBLEN       LAUREN M. KOFKE
RALPH M. LEVENE            GREGORY E. OSTLING               JAMES H. FOGELSON (1967–1991)                  SARAH K. EDDY        ZACHARY S. PODOLSKY
RICHARD G. MASON           DAVID B. ANDERS                   LEONARD M. ROSEN (1965–2014)                  VICTOR GOLDFELD      RACHEL B. REISBERG
ROBIN PANOVKA              ADAM J. SHAPIRO                                                                 RANDALL W. JACKSON   MARK A. STAGLIANO
DAVID A. KATZ              NELSON O. FITTS                              OF COUNSEL                         BRANDON C. PRICE     CYNTHIA FERNANDEZ
ILENE KNABLE GOTTS         JOSHUA M. HOLMES                                                                KEVIN S. SCHWARTZ      LUMERMANN
                                                 ANDREW R. BROWNSTEIN          ERIC S. ROBINSON
TREVOR S. NORWITZ          DAVID E. SHAPIRO                                                                MICHAEL S. BENN      CHRISTINA C. MA
                                                 MICHAEL H. BYOWITZ            ERIC M. ROSOF
ANDREW J. NUSSBAUM         DAMIAN G. DIDDEN                                                                ALISON Z. PREISS     NOAH B. YAVITZ
                                                 KENNETH B. FORREST            MICHAEL J. SEGAL
RACHELLE SILVERBERG        IAN BOCZKO                                                                      TIJANA J. DVORNIC    BENJAMIN S. ARFA
                                                 BEN M. GERMANA                WON S. SHIN
STEVEN A. COHEN            MATTHEW M. GUEST                                                                JENNA E. LEVINE      NATHANIEL D. CULLERTON
                                                 SELWYN B. GOLDBERG            DAVID M. SILK
DEBORAH L. PAUL            DAVID E. KAHAN                                                                  RYAN A. McLEOD       ERIC M. FEINSTEIN
                                                 PETER C. HEIN                 ELLIOTT V. STEIN
DAVID C. KARP              DAVID K. LAM                                                                    ANITHA REDDY         ADAM L. GOODMAN
                                                 JB KELLY                      LEO E. STRINE, JR.*
RICHARD K. KIM             BENJAMIN M. ROTH                                                                JOHN L. ROBINSON     STEVEN R. GREEN
                                                 JOSEPH D. LARSON              PAUL VIZCARRONDO, JR.
JOSHUA R. CAMMAKER         JOSHUA A. FELTMAN                                                               JOHN R. SOBOLEWSKI   MENG LU
                                                 LAWRENCE S. MAKOW             JEFFREY M. WINTNER
                                                 PHILIP MINDLIN                AMY R. WOLF
                                                 THEODORE N. MIRVIS            MARC WOLINSKY
                                                 DAVID S. NEILL

                                                                  * ADMITTED IN DELAWARE


                                                                         COUNSEL


                                                 DAVID M. ADLERSTEIN           MICHAEL W. HOLT
                                                 SUMITA AHUJA                  MARK A. KOENIG
                                                 FRANCO CASTELLI               CARMEN X.W. LU
                                                 ANDREW J.H. CHEUNG            J. AUSTIN LYONS
                                                 PAMELA EHRENKRANZ             ALICIA C. McCARTHY
                                                 ALINE R. FLODR                JUSTIN R. ORR
                                                 KATHRYN GETTLES-ATWA          NEIL M. SNYDER
                                                 ADAM M. GOGOLAK               JEFFREY A. WATIKER
                                                 ANGELA K. HERRING




                                                                   June 25, 2024
                 BY EMAIL
                 Nicholas Margida
                 Senior Trial Counsel
                 U.S. Securities & Exchange Commission
                 Division of Enforcement
                 100 F Street, N.E.
                 Washington, DC 20549-5977

                        Re:      Securities and Exchange Commission v. Coinbase, Inc. and Coinbase Global, Inc.,
                                 23 Civ. 4738 (KPF)

                 Dear Nick:

                        We write to summarize our understanding of the SEC’s positions concerning certain of
                 Coinbase’s document requests, as conveyed during calls between the parties on June 13, 17, and
                 20. Please let us know if any of the following is incorrect.
                                                            GENERAL ISSUES
                        We have identified two broad areas of disagreement between the parties, which apply to
                 multiple requests:
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Documents Held By Non-Investigatory Personnel
       In its responses and objections, the SEC limited the definition of the “SEC” to the
Division of Enforcement employees who conducted the Coinbase investigation. On our calls,
the SEC confirmed that, other than with respect to select investigative files, it will not conduct
any search outside of the files held by the Coinbase investigation staff, including any files
outside of the Division of Enforcement, for information responsive to Coinbase’s requests.
       Coinbase disagreed with the SEC’s position, noting that even divisions outside of
Enforcement — for example, Trading and Markets or Corporation Finance — would likely have
documents responsive to Coinbase’s requests. Those sources should therefore be searched. The
SEC acknowledged that Coinbase’s requests called for information that might be in the
possession, custody, or control of non-investigatory staff, but took the position that such
documents were not relevant to the claims and defenses in the action. The SEC said that it was
open to reconsidering its position in connection with specific requests but, after meeting and
conferring on each of the Coinbase requests for production, the SEC has not changed its position.
       The parties are at an impasse on this matter.

Documents Relevant to Coinbase’s Defenses
       During our calls, the SEC asserted that Coinbase’s defenses, including as to fair notice
and abuse of discretion, were “effectively dead” in light of Judge Failla’s decision on Coinbase’s
motion for judgment on the pleadings. The SEC said that it is therefore unwilling to search for
and produce any documents relevant to Coinbase’s defenses unless and until Judge Failla
confirms that the defenses are still in the case.
        Coinbase disagreed, noting that the SEC opted not to move to strike the defenses and that
Coinbase did not move for judgment on the pleadings on the basis of them — a point that the
SEC had acknowledged in prior meet and confers. Following our June 13 discussion, the SEC
specified that in order to confirm the SEC’s position that it will not search for or produce
documents requested in furtherance of Coinbase’s defenses, the SEC required a discussion of
each Coinbase request and the related defenses pursuant to which Coinbase seeks relevant
document disclosure. Coinbase provided this information in two follow-up discussions,
addressing each Coinbase request, but the SEC disagreed in each instance. The SEC’s position
continues to be that it will not search for documents relevant to Coinbase defenses, including any
such documents in the select non-Coinbase investigative files that it has agreed to search.
       The parties are at an impasse on this issue.
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                                         SPECIFIC RFPs
Investigative Files
       The Coinbase Investigative File (RFP 1)
        In response to RFP 1, the SEC has agreed to produce the investigative file for the
investigation captioned In the Matter of Coinbase, Inc. conducted under File Nos. HO-14315 and
SF-04523. We explained that any file for any investigation that formed the basis for the
complaint should be produced, not just the Coinbase investigative file. In response, you
represented that any information that the SEC relied on in preparing the complaint would be
included in the Coinbase investigative file,                                              , which
you stated have also been produced. You also confirmed that the investigative file being
produced includes all documents concerning the investigation and not just those that the SEC
plans to rely on affirmatively to support its claims. Finally, you confirmed that all documents
contained in the Coinbase investigative file would be produced or logged in accordance with the
Court’s Rule 502(d) order. Please let us know if any of the foregoing is incorrect.
       SEC’s Other Investigative Files (RFP 26)
         The SEC’s initial position was that it would not search any non-Coinbase investigative
file for responsive information, including the files related to the matters listed in RFP 26.


                                 The SEC did not dispute that the files might contain responsive
information but contended that it would be too burdensome to search and review what it claimed
would be potentially dozens of other investigative files. When we asked whether the SEC had
undertaken any analysis to determine or quantify that burden, you stated that the SEC had not
attempted to search any non-Coinbase files but that the number of other files that Coinbase had
requested to be searched would be “inherently burdensome.” In response, we noted that RFP 26
only sought information from ten investigative files and that it did not seem overly burdensome
to determine which if any of those files contained responsive information. You agreed to look
into the issue.
        We understand from our most recent meet and confers that the SEC has now agreed to
search for responsive documents in

         and (ii) investigations related to the Bittrex, Kraken, and Binance exchanges.

                                                                    The SEC also stated that, as to
the non-Coinbase investigative files it is willing to search for responsive documents, the SEC
will not log any responsive documents that it withholds on the basis of privilege. As we
explained on the call, given that the SEC will be searching the investigative files to identify
responsive information and to determine what if any of that information is privileged, preparing
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the log required by the Court’s Rule 502(d) order (on a categorical basis, supplemented by
document metadata) does not present a substantial, additional burden — and again, it is required
by the Court’s order. Please let us know if the SEC will reconsider its position. Otherwise, we
understand the parties to have reached an impasse on this issue.
        We will reserve on the other investigations identified in RFP 26, except for the
investigative files for Wahi and Kraken staking, as to which we reiterate our position that these
files should be searched for responsive documents to be produced (or if withheld on a claim of
privilege, then logged as required by the Court’s order). Please let us know whether the SEC
will reconsider its position at least as to those additional investigative files. Otherwise, we
understand the parties to have reached an impasse on that issue.
Documents Concerning Coinbase and the Named Tokens and Services (RFPs 2, 3, 4, 5, 6,
15, 16, 17, 20, and 21)
         The SEC does not dispute that RFPs 2, 3, 4, 5, 6, 15, 16, 17, 20, and 21 seek relevant
information, but the SEC does not agree to search for and produce responsive information
beyond that contained within the select investigative files discussed above. The SEC’s position
is that its internal views are not relevant to the claims and defenses in the action, and are in any
event likely privileged, and that any relevant third-party communications, or internal
communications reflecting such communications, would be too burdensome to identify. The
SEC, however, has offered no information, such as “hit reports,” to substantiate its claims of
burden with respect to the search for the requested information.
        Coinbase disagrees with the SEC’s position and believes that the SEC should undertake a
reasonable search of files likely to contain responsive information, including files outside the
Enforcement Division.1 Coinbase has communicated its willingness to work with the SEC on a
reasonable search, including as to relevant custodians and search terms, and, as set forth below,
proposes that the SEC undertake a preliminary search to furnish a “hit report” to enable the
parties to better address the asserted burden of searching the files for responsive information. If
the SEC does not agree to undertake the requested search, we will be at an impasse.
Communications with Issuers/Developers of the Named Tokens (RFP 8)
        The SEC has taken the position that it will not search its files for communications with
issuers or developers of the named tokens outside of the select investigative files that it has
agreed to search. Coinbase’s position is that such communications are plainly responsive and
non-privileged. The SEC does not dispute that such communications may exist, and indeed
productions in other litigation confirm that SEC personnel outside of the Division of

1
  While reserving our position as set forth in our Requests for Production and as stated in our
meet and confers, for now Coinbase is willing to limit RFPs 15 and 16 to documents concerning
the Coinbase Platform, the Named Tokens and Services, and whether market participants had
fair notice of whether and how the securities laws would be applied to digital assets.
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Enforcement had communications with token issuers that would be responsive. Ex. A (letter
from counsel for Dash Core Group). We believe that the burden of identifying such
communications should be modest and that such communications should be collected and
produced. As set forth below, Coinbase proposes that the SEC undertake a preliminary search
to furnish a “hit report” to enable the parties to better understand the asserted burden of searching
the files for responsive information. If the SEC does not agree to undertake the requested search,
we will be at an impasse.
Documents Concerning Public Statements by the SEC (RFPs 13, 14, and 28)
        The SEC refuses to produce documents in response to RFPs 13, 14, and 28 — which seek
information concerning public positions and statements by the SEC, Chair Gensler, and other
SEC representatives relating to the application of the securities laws to digital assets — on the
ground that the requests seek what the SEC characterizes as irrelevant information. As noted
during our calls, we disagree and believe that the requests are particularly relevant to Coinbase’s
fair notice defense. The parties are at an impasse as to these requests.
Documents Concerning Coinbase’s Form S-1 and Direct Public Offering (RFP 27)
        The SEC will not produce documents in response to RFP 27, concerning Coinbase’s
direct public offering or registration statement on Form S-1, on the ground that the requests seek
what the SEC characterizes as irrelevant information. As set forth in Coinbase’s Answer and as
detailed in our meet and confers, the SEC’s detailed review of Coinbase’s business and declaring
effective Coinbase’s registration statements under 15 U.S.C. § 77h(a) and 17 C.F.R.
§ 230.461(b) bears directly on Coinbase’s fair notice defense. The parties are at an impasse as to
this request.
Additional Requests Subject to Relevance Objection
        The SEC objected to producing any documents in response to RFPs 7, 9, 10, 11, 12, 19,
23, 24, 29, and 30, on the ground that they seek what the SEC characterizes as irrelevant
information. For the reasons discussed on our meet and confers, we disagree with the SEC’s
position and believe the requests are relevant to Coinbase’s defenses, including its fair notice
defense. It appears we are at an impasse as to these requests. For now, however, Coinbase is
willing to reserve its position on these requests.

                                  *       *      *       *       *

        During our meet and confers, the SEC justified a number of its objections to Coinbase’s
requests on the grounds that searching for documents and information outside of certain
investigative files maintained by the Division of Enforcement would be overly burdensome. The
SEC, however, has not assessed with any data the scale of that purported burden. We therefore
request that the SEC prepare hit reports based on an illustrative search of its files to better
understand the volume of documents that might be subject to review in response to Coinbase’s
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requests. The proposed preliminary search is set forth at the Appendix hereto.2 Please let us
know by June 27 whether the SEC is willing to undertake this search or, at minimum, to meet
and confer regarding appropriate preliminary search parameters to furnish such a hit report.

                                                     Respectfully,



                                                     Kevin S. Schwartz




2
  Coinbase reserves all rights with respect to any final search protocol to be negotiated between
the parties.
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                       Appendix – Proposed Search for Hit Report

Date Range: January 1, 2017 through June 6, 2023
Custodians: Jay Clayton, Rob Cohen, Caroline Crenshaw, Michael Gaw, Gary Gensler, Erik
Gerding, William Hinman, David Hirsch, Jon Ingram, Renee Jones, Allison Herren Lee, Kristina
Littman, Jaime Lizárraga, Hester Peirce, Brett Redfearn, Elad Roisman, Michael Seaman, Amy
Starr, Valerie Szczepanik, Mark Uyeda, Mark Vilardo, and Haoxiang Zhu.
Search Terms (limited to emails with fewer than 50 addressees to avoid mass emails)
                    Coinbase
                    Solana
                    SOL
                    @solana.org
                    @solana.com
                    @solana.foundation
                    Cardano
                    ADA
                    @cardanofoundation.org
                    @iohk.io
                    @emurgo.io
                    Polygon
                    MATIC
                    @polygon.technology
                    @protocol.ai
                    Filecoin
                    FIL
                    @fil.org
                    Sandbox
                    SAND
                    @sandbox.game
                    Axie
                    AXS
                    @animocabrands.com
                    @pixowl.com
                    @axieinfinity.com
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             @skymavis.com
             Chiliz
             CHZ
             @chiliz.com
             @mediarex.com
             “Dapper Labs”
             FLOW
             @dapperlabs.com
             @dfinity.org
             “Internet Computer”
             ICP
             Internetcomputer.org
             NEAR /s (protocol or token)
             @near.foundation
             @near.org
             Voyager
             VGX
             @investvoyager.com
             DASH
             @dash.org
             (crypto* or token or “digital asset”) and (“fair notice” or *certainty or
              confusion)
             (crypto* or token or “digital asset”) and (Howey or securit* or ecosystem)
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